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 )LOOLQWKLVLQIRUPDWLRQ WRLGHQWLI\WKHFDVH

 8QLWHG6WDWHV%DQNUXSWF\&RXUWIRUWKH
 :HVWHUQ
 BBBBBBBBBBBBBBBBBBBB                 1RUWK &DUROLQD
                      'LVWULFWRIBBBBBBBBBBBBBBBBB
                                       6WDWH 
                                                             
 &DVHQXPEHU If known  BBBBBBBBBBBBBBBBBBBBBBBBB&KDSWHUBBBBB                                                                      &KHFNLIWKLVLVDQ
                                                                                                                                            DPHQGHGILOLQJ




2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                         

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHdebtor’sQDPHDQGWKHFDVH
QXPEHU LINQRZQ  )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH




   Debtor’s name                           2DNWUHH 0HGLFDO &HQWUH //&
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   $OORWKHUQDPHV GHEWRUXVHG            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     LQWKHODVW \HDUV                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     ,QFOXGHDQ\DVVXPHGQDPHV
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
     WUDGHQDPHVDQG doing business
     as QDPHV                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




   Debtor’s fHGHUDO(PSOR\HU                                             BBBB
                                            BBBBBB±BBBBBBBBBBBBBBBBBBB 
     ,GHQWLILFDWLRQ1XPEHU (,1



   Debtor’s address                       3ULQFLSDOSODFHRIEXVLQHVV                                 0DLOLQJDGGUHVV LI GLIIHUHQW IURPSULQFLSDOSODFH
                                                                                                        RIEXVLQHVV

                                                      $LUSDUN &RXUW
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            1XPEHU    6WUHHW                                          1XPEHU    6WUHHW


                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
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                                             *UHHQYLOOH                 6&       
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB              *UHHQYLOOH                6&        
                                                                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &LW\                       6WDWH   =,3&RGH             &LW\                     6WDWH     =,3&RGH

                                                                                                        /RFDWLRQRISULQFLSDODVVHWV LI GLIIHUHQW IURP
                                                                                                        SULQFLSDOSODFHRIEXVLQHVV
                                             *UHHQYLOOH
                                            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                            &RXQW\                                                    BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                                                        1XPEHU    6WUHHW

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                                                                                                        &LW\                     6WDWH     =,3&RGH




   Debtor’s website 85/                  BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


   7\SHRIGHEWRU                          &RUSRUDWLRQ LQFOXGLQJ/LPLWHG/LDELOLW\&RPSDQ\ //& DQG/LPLWHG/LDELOLW\3DUWQHUVKLS //3
                                             3DUWQHUVKLS H[FOXGLQJ//3
                                             2WKHU6SHFLI\BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


2IILFLDO)RUP                                9ROXQWDU\3HWLWLRQIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\                            SDJH
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                1DPH



                                         $ Check one:
    'HVFULEHdebtor’s EXVLQHVV
                                          +HDOWK&DUH%XVLQHVV DVGHILQHGLQ86& $
                                          6LQJOH$VVHW5HDO(VWDWH DVGHILQHGLQ86& %
                                          5DLOURDG DVGHILQHGLQ86& 
                                          6WRFNEURNHU DVGHILQHGLQ86& $
                                          &RPPRGLW\%URNHU DVGHILQHGLQ86& 
                                          &OHDULQJ%DQN DVGHILQHGLQ86& 
                                          1RQHRIWKHDERYH

                                         % Check all that apply:

                                          7D[H[HPSWHQWLW\ DVGHVFULEHGLQ86&
                                          ,QYHVWPHQWFRPSDQ\LQFOXGLQJKHGJHIXQGRUSRROHGLQYHVWPHQWYHKLFOH DVGHILQHGLQ86&
                                             D
                                          ,QYHVWPHQWDGYLVRU DVGHILQHGLQ86&E D         


                                         & 1$,&6 1RUWK$PHULFDQ,QGXVWU\&ODVVLILFDWLRQ6\VWHP GLJLWFRGHWKDWEHVWGHVFULEHVGHEWRU6HH
                                             KWWSZZZXVFRXUWVJRYIRXUGLJLWQDWLRQDODVVRFLDWLRQQDLFVFRGHV
                                                         
                                            BBBBBBBBBBBB

    8QGHUZKLFKFKDSWHURIWKH         Check one:
      %DQNUXSWF\&RGH LVWKH
      GHEWRUILOLQJ"                      &KDSWHU
                                          &KDSWHU
                                          &KDSWHUCheck all that apply
                                                         'HEWRU¶VDJJUHJDWHQRQFRQWLQJHQWOLTXLGDWHGGHEWV H[FOXGLQJGHEWVRZHGWR
                                                             LQVLGHUVRUDIILOLDWHV DUHOHVVWKDQ DPRXQWVXEMHFWWRDGMXVWPHQWRQ
                                                             DQGHYHU\\HDUVDIWHUWKDW 
                                                         
                                                          7KHGHEWRULVDVPDOOEXVLQHVVGHEWRUDVGHILQHGLQ86& ' ,IWKH
                                                             GHEWRULVDVPDOOEXVLQHVVGHEWRUDWWDFKWKHPRVWUHFHQWEDODQFHVKHHWVWDWHPHQW
                                                             RIRSHUDWLRQVFDVKIORZVWDWHPHQWDQGIHGHUDOLQFRPHWD[UHWXUQRULIDOORIWKHVH
                                                             GRFXPHQWVGRQRWH[LVWIROORZWKHSURFHGXUHLQ86&  % 

                                                            $SODQLVEHLQJILOHGZLWKWKLVSHWLWLRQ

                                                            $FFHSWDQFHVRIWKHSODQZHUHVROLFLWHGSUHSHWLWLRQIURPRQHRUPRUHFODVVHVRI
                                                             FUHGLWRUVLQDFFRUGDQFHZLWK86& E 

                                                            7KHGHEWRULVUHTXLUHGWRILOHSHULRGLFUHSRUWV IRUH[DPSOH.DQG4 ZLWKWKH
                                                             6HFXULWLHVDQG([FKDQJH&RPPLVVLRQDFFRUGLQJWRRU G RIWKH6HFXULWLHV
                                                             ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

                                                            7KHGHEWRULVDVKHOOFRPSDQ\DVGHILQHGLQWKH6HFXULWLHV([FKDQJH$FWRI5XOH
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    :HUHSULRUEDQNUXSWF\FDVHV         1R
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      ,IPRUHWKDQFDVHVDWWDFKD
      VHSDUDWHOLVW                               'LVWULFW BBBBBBBBBBBBBBBBBBBBBBB :KHQBBBBBBBBBBBBBBB &DVHQXPEHU BBBBBBBBBBBBBBBBBBBBBBBBB
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   $UHDQ\EDQNUXSWF\FDVHV            1R
      SHQGLQJRUEHLQJILOHGE\D                           6HH DWWDFKHG
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      DIILOLDWH RIWKHGHEWRU"                     'LVWULFW BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB :KHQ          BBBBBBBBBBBBBBBBBB
      /LVWDOOFDVHV,IPRUHWKDQ                                                                                        00  '' <<<<
      DWWDFKDVHSDUDWHOLVW                      &DVHQXPEHULINQRZQ BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB


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              1DPH




   :K\LVWKH FDVH ILOHG LQ this    Check all that apply:
      district"
                                        'HEWRUKDVKDGLWVGRPLFLOHSULQFLSDOSODFHRIEXVLQHVVRUSULQFLSDODVVHWVLQWKLVGLVWULFWIRUGD\V
                                          LPPHGLDWHO\SUHFHGLQJWKHGDWHRIWKLVSHWLWLRQRUIRUDORQJHUSDUWRIVXFKGD\VWKDQLQDQ\RWKHU
                                          GLVWULFW

                                        $EDQNUXSWF\FDVHFRQFHUQLQJGHEWRU¶VDIILOLDWHJHQHUDOSDUWQHURUSDUWQHUVKLSLVSHQGLQJLQWKLVGLVWULFW

   'RHVWKHGHEWRU RZQRUKDYH       1R
      SRVVHVVLRQRIDQ\UHDO            <HV$QVZHUEHORZIRUHDFKSURSHUW\WKDWQHHGVLPPHGLDWHDWWHQWLRQ$WWDFKDGGLWLRQDOVKHHWVLIQHHGHG
      SURSHUW\RUSHUVRQDOSURSHUW\
      WKDWQHHGVLPPHGLDWH                      :K\GRHVWKHSURSHUW\QHHGLPPHGLDWHDWWHQWLRQ" Check all that appO\ 
      DWWHQWLRQ"
                                                   ,WSRVHVRULVDOOHJHGWRSRVHDWKUHDWRILPPLQHQWDQGLGHQWLILDEOHKD]DUGWRSXEOLFKHDOWKRUVDIHW\
                                                    :KDWLVWKHKD]DUG"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                   ,WQHHGVWREHSK\VLFDOO\VHFXUHGRUSURWHFWHGIURPWKHZHDWKHU

                                                   ,WLQFOXGHVSHULVKDEOHJRRGVRUDVVHWVWKDWFRXOGTXLFNO\GHWHULRUDWHRUORVHYDOXHZLWKRXW
                                                    DWWHQWLRQ IRUH[DPSOHOLYHVWRFNVHDVRQDOJRRGVPHDWGDLU\SURGXFHRUVHFXULWLHVUHODWHG
                                                    DVVHWVRURWKHURSWLRQV 

                                                   2WKHUBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB



                                                :KHUHLVWKHSURSHUW\"BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                                                           1XPEHU        6WUHHW

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                                                         &RQWDFWQDPH     BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                         3KRQH            BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB




            Statistical and administrative information



   'HEWRU’s HVWLPDWLRQ RI           Check one:
      DYDLODEOHIXQGV                   )XQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV
                                        $IWHUDQ\DGPLQLVWUDWLYHH[SHQVHVDUHSDLGQRIXQGVZLOOEHDYDLODEOHIRUGLVWULEXWLRQWRXQVHFXUHGFUHGLWRUV

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ZĞůĂƚĞĚĐĂƐĞƐ͗

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                      UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

                                            )
IN RE: OAKTREE MEDICAL                      )       Case No:
       CENTRE, LLC,                         )
                                            )       Chapter 7
                                            )
                      Debtor.               )
                                            )

                        CORPORATE OWNERSHIP STATEMENT
                          OAKTREE MEDICAL CENTRE, LLC

Check one: X DEBTOR             PLAINTIFF       DEFENDANT          OTHER (specify):

Instructions: Fed. R. Bankr. P. 7007.1 requires corporate parties to an adversary proceeding,
other than the debtor or a governmental unit, to file a statement of corporate ownership with the
first pleading filed. Fed. R. Bankr. P. 1007(a)(1) requires corporate debtors to file with the
petition a Corporate Ownership Statement containing the information described in Fed. R.
Bankr. P. 7007.1. Check one of the statements set forth below and provide any information as
directed.

   1. The following corporations directly or indirectly own 10% or more of any class of
      the above named corporate debtor’s/party’s equity interests:



   2. There are no entities that directly or indirectly own 10% or more of any class of the
      above named corporate debtor’s/party’s equity interests.


Date: September 17, 2019
                                     Signature of     Authorized    Individual   for   Corporate
                                     Debtor/Party

                                     Aaron Kibbey
                                     Printed Name of Authorized Individual for Corporate
                                     Debtor/Party

                                     Chief Restructuring Officer
                                     Title of Authorized Individual for Corporate Debtor/Party
           Case
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                 19-31285 Doc        Filed09/19/19
                                           09/19/19 Entered
                                                     Entered09/19/19
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                                                   Page 10 of 54
 Fill in this information to identify the case and this filing:


                Oaktree Medical Centre, LLC
 Debtor Name __________________________________________________________________
                                         Western
 United States Bankruptcy Court for the: ______________________
                                                                            N Carolina
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


         
         ✔
              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

         
         ✔    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

         
         ✔    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

         
         ✔    Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

         
         ✔
              Schedule H: Codebtors (Official Form 206H)

         
         ✔    Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


             Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


             Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.

                    09 / 18 / 2019
        Executed on ______________                         8   _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Aaron Kibbey
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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                                                                             14:19:36 Desc
                                                                                       DescMain
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                                          Document
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                                                         Page 11 of 54
 Fill in this information to identify the case:

                      Oaktree Medical Centre, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Western                                                  N Carolina
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                 Check if this is an
                                                                                                                                                                                                   amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                         12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:                                                                                                                                                                                       0.00
                                                                                                                                                                                                $ ________________
           Copy line 88 from Schedule A/B.....................................................................................................................................
                                                                                                                                                                                                   Plus Unknown

     1b.   Total personal property:                                                                                                                                                                             0.00
                                                                                                                                                                                                $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................                      Plus Unknown

     1c. Total of all property:                                                                                                                                                                                 0.00
                                                                                                                                                                                                $ ________________
           Copy line 92 from Schedule A/B.....................................................................................................................................                     Plus Unknown




Part 2:          Summary of Liabilities




2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                    29,354,194.18
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                  $ ________________
                                                                                                                                                                                                   Plus Unknown
3.   Schedule E/F: Creditors Who Have Unsecured Claims(Official Form 206E/F)

     3a.   Total claim am ounts of priority unsecured claim s:
                                                                                                                                                                                                                0.00
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                  $ ________________
                                                                                                                                                                                                   Plus Unknown
     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:                                                                                                                                  0.00
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                        +   $ ________________
                                                                                                                                                                                                    Plus Unknown



4.   Total liabilities...................................................................................................................................................................          29,354,194.18
                                                                                                                                                                                                $ ________________
     Lines 2 + 3a + 3b                                                                                                                                                                              Plus Unknown




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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                                                                                    DescMain
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                                                      Page 12 of 54
  Fill in this information to identify the case:

               Oaktree Medical Centre, LLC
  Debtor name __________________________________________________________________

                                          Western
  United States Bankruptcy Court for the:_______________________              N Carolina
                                                                 District of ________
                                                                             (State)
  Case number (If known):     _________________________                                                                              Check if this is an
                                                                                                                                        amended filing


Official Form 206A/B
Schedule A/B: Assets — Real and Personal Property                                                                                                 12/15

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).
Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.


Part 1:     Cash and cash equivalents

1. Does the debtor have any cash or cash equivalents?

   
   ✔      No. Go to Part 2.
         Yes. Fill in the information below.

    All cash or cash equivalents owned or controlled by the debtor                                                                Current value of debtor’s
                                                                                                                                  interest

2. Cash on hand                                                                                                                  $______________________

3. Checking, savings, money market, or financial brokerage accounts (Identify all)

   Name of institution (bank or brokerage firm)                Type of account                 Last 4 digits of account number
   3.1. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________
   3.2. _________________________________________________ ______________________               ____ ____ ____ ____               $______________________


4. Other cash equivalents (Identify all)
        None
   4.1. _____________________________________________________________________________________________________                    $______________________
   4.2. _____________________________________________________________________________________________________                    $______________________

5. Total of Part 1
                                                                                                                                 $______________________
   Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.



Part 2:     Deposits and prepayments

6. Does the debtor have any deposits or prepayments?

   
   ✔      No. Go to Part 3.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                   debtor’s interest
7. Deposits, including security deposits and utility deposits

   Description, including name of holder of deposit

   7.1. ________________________________________________________________________________________________________                  $______________________
   7.2._________________________________________________________________________________________________________                  $_______________________


  Official Form 206A/B                                    Schedule A/B: Assets  Real and Personal Property                                   page 1
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8. Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
   Description, including name of holder of prepayment

   8.1.___________________________________________________________________________________________________________                $______________________
   8.2.___________________________________________________________________________________________________________                $_______________________

9. Total of Part 2.
                                                                                                                                 $______________________
   Add lines 7 through 8. Copy the total to line 81.



Part 3:    Accounts receivable

10. Does the debtor have any accounts receivable?
    ✔ No. Go to Part 4.
    
     Yes. Fill in the information below.
                                                                                                                                  Current value of debtor’s
                                                                                                                                  interest
11. Accounts receivable

    11a. 90 days old or less:    ____________________________ – ___________________________          = ........ Î                $______________________
                                  face amount                   doubtful or uncollectible accounts

    11b. Over 90 days old:        ___________________________ – ___________________________          = ........ Î                $______________________
                                   face amount                  doubtful or uncollectible accounts


12. Total of Part 3
                                                                                                                                 $______________________
    Current value on lines 11a + 11b = line 12. Copy the total to line 82.


Part 4:    Investments

13. Does the debtor own any investments?
    
    ✔ No. Go to Part 5.
     Yes. Fill in the information below.
                                                                                                        Valuation method          Current value of debtor’s
                                                                                                        used for current value    interest

14. Mutual funds or publicly traded stocks not included in Part 1
   Name of fund or stock:
   14.1. ________________________________________________________________________________               _____________________    $________________________
   14.2. ________________________________________________________________________________               _____________________    $________________________



15. Non-publicly traded stock and interests in incorporated and unincorporated businesses,
    including any interest in an LLC, partnership, or joint venture

   Name of entity:                                                                 % of ownership:

   15.1._______________________________________________________________            ________%            _____________________    $________________________
   15.2._______________________________________________________________            ________%            _____________________    $________________________

16. Government bonds, corporate bonds, and other negotiable and non-negotiable
    instruments not included in Part 1
 Describe:
   16.1.________________________________________________________________________________                ______________________   $_______________________
   16.2.________________________________________________________________________________                ______________________   $_______________________



17. Total of Part 4
                                                                                                                                 $______________________
    Add lines 14 through 16. Copy the total to line 83.



Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                 page 2
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Part 5:    Inventory, excluding agriculture assets

18. Does the debtor own any inventory (excluding agriculture assets)?
    
    ✔ No. Go to Part 6.
     Yes. Fill in the information below.
     General description                            Date of the last     Net book value of     Valuation method used     Current value of
                                                    physical inventory   debtor's interest     for current value         debtor’s interest
                                                                         (Where available)
19. Raw materials
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

20. Work in progress
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

21. Finished goods, including goods held for resale
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________

22. Other inventory or supplies
   ________________________________________         ______________                                                      $______________________
                                                    MM / DD / YYYY
                                                                         $__________________   ______________________


23. Total of Part 5                                                                                                     $______________________
    Add lines 19 through 22. Copy the total to line 84.

24. Is any of the property listed in Part 5 perishable?
         No
         Yes
25. Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

         No
         Yes. Book value _______________        Valuation method____________________ Current value______________
26. Has any of the property listed in Part 5 been appraised by a professional within the last year?
         No
         Yes

Part 6:    Farming and fishing-related assets (other than titled motor vehicles and land)

27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?
    
    ✔ No. Go to Part 7.
     Yes. Fill in the information below.
      General description                                                Net book value of     Valuation method used     Current value of debtor’s
                                                                         debtor's interest     for current value         interest
                                                                         (Where available)
28. Crops—either planted or harvested
   ______________________________________________________________         $________________     ____________________    $______________________

29. Farm animals Examples: Livestock, poultry, farm-raised fish

   ______________________________________________________________         $________________     ____________________    $______________________

30. Farm machinery and equipment (Other than titled motor vehicles)

   ______________________________________________________________         $________________     ____________________    $______________________

31. Farm and fishing supplies, chemicals, and feed

   ______________________________________________________________         $________________     ____________________    $______________________

32. Other farming and fishing-related property not already listed in Part 6

   ______________________________________________________________         $________________     ____________________    $______________________


Official Form 206A/B                                      Schedule A/B: Assets  Real and Personal Property                          page 3
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33. Total of Part 6.
                                                                                                                            $______________________
    Add lines 28 through 32. Copy the total to line 85.

34. Is the debtor a member of an agricultural cooperative?

     No
     Yes. Is any of the debtor’s property stored at the cooperative?
       No
       Yes
35. Has any of the property listed in Part 6 been purchased within 20 days before the bankruptcy was filed?

     No
     Yes. Book value $_______________ Valuation method ____________________ Current value $________________
36. Is a depreciation schedule available for any of the property listed in Part 6?

     No
     Yes
37. Has any of the property listed in Part 6 been appraised by a professional within the last year?

     No
     Yes

Part 7:    Office furniture, fixtures, and equipment; and collectibles

38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    
    ✔ No. Go to Part 8.
     Yes. Fill in the information below.

   General description                                                        Net book value of    Valuation method          Current value of debtor’s
                                                                              debtor's interest    used for current value    interest
                                                                              (Where available)

39. Office furniture

   ______________________________________________________________              $________________   ____________________     $______________________

40. Office fixtures

   ______________________________________________________________              $________________   ____________________     $______________________

41. Office equipment, including all computer equipment and
    communication systems equipment and software
   ______________________________________________________________              $________________   ____________________     $______________________

42. Collectibles Examples: Antiques and figurines; paintings, prints, or other
    artwork; books, pictures, or other art objects; china and crystal; stamp, coin,
    or baseball card collections; other collections, memorabilia, or collectibles
   42.1___________________________________________________________             $________________    ____________________    $______________________
   42.2___________________________________________________________             $________________    ____________________    $______________________
   42.3___________________________________________________________             $________________    ____________________    $______________________

43. Total of Part 7.
                                                                                                                            $______________________
    Add lines 39 through 42. Copy the total to line 86.

44. Is a depreciation schedule available for any of the property listed in Part 7?

     No
     Yes
45. Has any of the property listed in Part 7 been appraised by a professional within the last year?

     No
     Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                            page 4
            Case
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 Debtor      Oaktree Medical Centre, LLC          Document
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                                                                                Case number (if known)_____________________________________
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Part 8: Machinery, equipment, and vehicles

46. Does the debtor own or lease any machinery, equipment, or vehicles?

    
    ✔ No. Go to Part 9.
     Yes. Fill in the information below.

   General description                                                     Net book value of    Valuation method used    Current value of
                                                                           debtor's interest    for current value        debtor’s interest
   Include year, make, model, and identification numbers (i.e., VIN,
                                                                           (Where available)
   HIN, or N-number)


47. Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

   47.1___________________________________________________________          $________________   ____________________    $______________________

   47.2___________________________________________________________          $________________   ____________________    $______________________

   47.3___________________________________________________________          $________________   ____________________    $______________________

   47.4___________________________________________________________          $________________   ____________________    $______________________

48. Watercraft, trailers, motors, and related accessories Examples: Boats,
    trailers, motors, floating homes, personal watercraft, and fishing vessels

   48.1__________________________________________________________          $________________    ____________________    $______________________

   48.2__________________________________________________________          $________________    ____________________    $______________________

49. Aircraft and accessories

   49.1__________________________________________________________          $________________    ____________________    $______________________

   49.2__________________________________________________________          $________________    ____________________    $______________________

50. Other machinery, fixtures, and equipment (excluding farm
    machinery and equipment)

   ______________________________________________________________          $________________    ____________________    $______________________


51. Total of Part 8.
                                                                                                                        $______________________
    Add lines 47 through 50. Copy the total to line 87.



52. Is a depreciation schedule available for any of the property listed in Part 8?
         No
         Yes

53. Has any of the property listed in Part 8 been appraised by a professional within the last year?
         No
         Yes




 Official Form 206A/B                                     Schedule A/B: Assets  Real and Personal Property                        page 5
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Debtor
             Name
                                                   Document
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                                                                                Case number (if known)_____________________________________




Part 9:    Real property

54. Does the debtor own or lease any real property?
     No. Go to Part 10.
    
    ✔ Yes. Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

    Description and location of property                   Nature and extent      Net book value of    Valuation method used    Current value of
    Include street address or other description such as    of debtor’s interest   debtor's interest    for current value        debtor’s interest
    Assessor Parcel Number (APN), and type of property     in property            (Where available)
    (for example, acreage, factory, warehouse, apartment
    or office building), if available.
         Office, 25 Airpark Court, Greenville, SC            Leased                          0.00                                                   0.00
    55.1________________________________________            _________________     $_______________     ____________________     $_____________________

    55.2________________________________________            _________________     $_______________     ____________________     $_____________________

    55.3________________________________________            _________________     $_______________     ____________________     $_____________________

    55.4________________________________________            _________________     $_______________     ____________________     $_____________________

    55.5________________________________________            _________________     $_______________     ____________________     $_____________________

    55.6________________________________________            _________________     $_______________     ____________________     $_____________________


56. Total of Part 9.                                                                                                                              0.00
                                                                                                                                $_____________________
    Add the current value on lines 55.1 through 55.6 and entries from any additional sheets. Copy the total to line 88.

57. Is a depreciation schedule available for any of the property listed in Part 9?
    
    ✔     No
         Yes
58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
    
    ✔     No
         Yes

Part 10: Intangibles and intellectual property

59. Does the debtor have any interests in intangibles or intellectual property?
     No. Go to Part 11.
    
    ✔ Yes. Fill in the information below.
   General description                                                           Net book value of    Valuation method         Current value of
                                                                                  debtor's interest    used for current value   debtor’s interest
                                                                                  (Where available)
60. Patents, copyrights, trademarks, and trade secrets
    ______________________________________________________________                $_________________   ______________________   $____________________

61. Internet domain names and websites
     Various domains
    ______________________________________________________________                $_________________   ______________________                 Unknown
                                                                                                                                 $____________________

62. Licenses, franchises, and royalties
    ______________________________________________________________                $_________________   ______________________    $____________________

63. Customer lists, mailing lists, or other compilations
     Patient lists
    ______________________________________________________________                $_________________   ______________________                 Unknown
                                                                                                                                 $____________________

64. Other intangibles, or intellectual property
    ______________________________________________________________                 $________________   _____________________    $____________________
65. Goodwill
    ______________________________________________________________                 $________________   _____________________    $____________________

66. Total of Part 10.                                                                                                                         Unknown
                                                                                                                                $____________________
    Add lines 60 through 65. Copy the total to line 89.




Official Form 206A/B                                          Schedule A/B: Assets  Real and Personal Property                            page 6
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                                                                                 Case number (if known)_____________________________________
              Name




67. Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C. §§ 101(41A) and 107)?
        No
    
    ✔    Yes
68. Is there an amortization or other similar schedule available for any of the property listed in Part 10?
        No
        Yes
69. Has any of the property listed in Part 10 been appraised by a professional within the last year?
        No
        Yes

Part 11: All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.
    
    ✔     No. Go to Part 12.
         Yes. Fill in the information below.
                                                                                                                                   Current value of
                                                                                                                                     debtor’s interest
71. Notes receivable
    Description (include name of obligor)
                                                                    _______________     –   __________________________         =Î   $_____________________
    ______________________________________________________
                                                                    Total face amount       doubtful or uncollectible amount

72. Tax refunds and unused net operating losses (NOLs)

    Description (for example, federal, state, local)

    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________
    _________________________________________________________________________________
                                                                                                          Tax year ___________      $_____________________

73. Interests in insurance policies or annuities
    ______________________________________________________________                                                                  $_______________________

74. Causes of action against third parties (whether or not a lawsuit
    has been filed)
    ______________________________________________________________                                                                  $_______________________
    Nature of claim                   ___________________________________

    Amount requested                  $________________

75. Other contingent and unliquidated claims or causes of action of
    every nature, including counterclaims of the debtor and rights to
    set off claims
    ______________________________________________________________                                                                  $_______________________

    Nature of claim                   ___________________________________

    Amount requested                  $________________

76. Trusts, equitable or future interests in property

    ______________________________________________________________                                                                   $_____________________

77. Other property of any kind not already listed Examples: Season tickets,
    country club membership
   ____________________________________________________________                                                                     $_____________________
   ____________________________________________________________                                                                     $_____________________
78. Total of Part 11.
                                                                                                                                    $_____________________
    Add lines 71 through 77. Copy the total to line 90.

79. Has any of the property listed in Part 11 been appraised by a professional within the last year?
        No
        Yes

Official Form 206A/B                                        Schedule A/B: Assets  Real and Personal Property                                   page 7
              Case
               Case19-05154-dd
                       19-31285 Doc       Doc1 1 Filed
                                                     Filed09/19/19
                                                             09/19/19 Entered
                                                                         Entered09/19/19
                                                                                   10/01/1916:51:22 14:19:36 Desc   DescMainMain
               Oaktree Medical Centre, LLC          Document           Page 19 of  54
Debtor
               Name
                                                     Document
               _______________________________________________________ Page 19 of 54
                                                                                  Case number (if known)_____________________________________




Part 12:        Summary



In Part 12 copy all of the totals from the earlier parts of the form.


       Type of property                                                                             Current value of                         Current value
                                                                                                    personal property                        of real property

80. Cash, cash equivalents, and financial assets. Copy line 5, Part 1.                                 $_______________


81. Deposits and prepayments. Copy line 9, Part 2.                                                     $_______________


82. Accounts receivable. Copy line 12, Part 3.                                                         $_______________


83. Investments. Copy line 17, Part 4.                                                                 $_______________

84. Inventory. Copy line 23, Part 5.                                                                   $_______________

85. Farming and fishing-related assets. Copy line 33, Part 6.                                          $_______________

86. Office furniture, fixtures, and equipment; and collectibles.
                                                                                                       $_______________
    Copy line 43, Part 7.

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                          $_______________

                                                                                                                                                          0.00
88. Real property. Copy line 56, Part 9. . .................................................................................. Î              $________________

                                                                                                               Unknown
                                                                                                       $_______________
89. Intangibles and intellectual property. Copy line 66, Part 10.

90. All other assets. Copy line 78, Part 11.                                                      +    $_______________


                                                                                                                  0.00                                   0.00
91. Total. Add lines 80 through 90 for each column. ........................... 91a.                  $_______________
                                                                                                      Plus Unknown
                                                                                                                                  +   91b.
                                                                                                                                             $________________




92. Total of all property on Schedule A/B. Lines 91a + 91b = 92. ...........................................................................................                    0.00
                                                                                                                                                                 $__________________
                                                                                                                                                                 Plus Unknown




Official Form 206A/B                                                     Schedule A/B: Assets  Real and Personal Property                                               page 8
                    Case 19-05154-dd
                 Case 19-31285        Doccase:
                                           1 Filed        Doc 1   Filed09/19/19
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                                                                                                              DescMain
                                                                                                                   Main
 Fill in this information to identify the
                                                                  Document
                                                                  Document      Page 20 of 54
                                                                                Page 20 of 54
Debtor name     Oaktree Medical Centre, LLC
United States Bankruptcy Court for the:          Western                          District of    N Carolina
                                                                                                  (State)
Case number (If known):

                                                                                                                                                  Check if this is an
Official Form 206D                                                                                                                                amended filing

Schedule D: Creditors Who Have Claims Secured by Property                                                                                          12/15

Be as complete and accurate as possible.

1. Do any creditors have claims secured by debtor’s property?
       No. Check this box and submit page 1 of this form to the court with debtor’s other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.

Part 1:                                                                                                                   Column A                               Column B
             List Creditors Who Have Secured Claims
                                                                                                                                   Amount of Claim         Value of collateral
2. List in alphabetical order all creditors who have secured claims.                                                                                       that supports this
                                                                                                                                       Do not deduct
If a creditor has more than one secured claim, list the creditor separately for each claim.                                                 the value                   claim
2. 1     Creditor's name                                           Describe debtor's property that is subject to a lien
                                                                                                                                      $29,354,194.18                UNKNOWN
         FIDUS INVESTMENT CORPORATION                              Substantially all assets of Oaktree Medical
s896
                                                                   Centre, P.C. and Labsource, LLC
         Creditor's Mailing Address

         AS LENDER AND COLLATERAL AGENT
         1603 ORRINGTON #810
         EVANSTON, IL 60201



         Creditor's email address, if known
                                                                   Describe the lien
                                                                   Guarantee of Secured Claim
         Date debt was incurred
         5/6/2014

         Last 4 digts of account number
                                                                   Is the creditor an insider or related party?
                                                                        No
         Do multiple creditors have an interest in the                  Yes
         same property?                                            Is anyone else liable on this claim?
             No                                                        No.
             Yes. Have you already specified the                       Yes. Fill out Schedule H: Codebtors (Official Form 206H).
             relative priority?

                No. Specify each creditor, including this          As of the petition filing date, the claim is:
                creditor and its relative priority.
                                                                   Check all that apply.
                                                                      Contingent
                Yes. The relative priority of creditors               Unliquidated
                is specified on lines s896
                                                                      Disputed




Official Form 206D                           Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
                  Case 19-05154-dd Doc
            OaktreeCase
                   Medical19-31285
                                    Doc1 1 Filed
                           Centre, LLC
                                             Filed09/19/19
                                                   09/19/19 Entered
                                                             Entered09/19/19
                                                                      10/01/1916:51:22
                                                                               14:19:36 Desc
                                                                                           DescMain  Main
Debtor                                      Document       Page 21 of 54
                                            Document       Page 21 of 54          Case Number (if known)
           Name

Part 2:      List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies, assignees of
claims listed above, and attorneys for secured creditors.

If no others need to be notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 did you                Last 4 digts of account
                                                                                                         enter the related creditor?                    number for this entity



     WEST CRT HEAVY, LLC                                                                                 s896
     1603 ORRINGTON #810
     EVANSTON, IL 60201

     WEST FAMILY INVESTMENTS, INC.                                                                       s896
     1603 ORRINGTON #810
     EVANSTON, IL 60201

     WEST INVESTMENT CORPORATION                                                                         s896
     1603 ORRINGTON #810
     EVANSTON, IL 60201

     WEST INVESTMENT HOLDINGS, LLC                                                                       s896
     1603 ORRINGTON #810
     EVANSTON, IL 60201




Official Form 206D                          Schedule D: Creditors Who Have Claims Secured by Property                                                       page 2 of 3
                 Case
                  Case19-05154-dd Doc1 1 Filed
                       19-31285 Doc        Filed09/19/19
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                                                           Entered09/19/19
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                                                                                            Main
          Oaktree Medical Centre, LLC
Debtor                                    Document
                                          Document       Page 22 of 54
                                                         Page 22 of 54
          Name                                                                                 Case Number (if known)

Part 3:     Total Amounts of the Claims Secured by Property

                                                                                                     Total of Claim Amounts


3a. Total of the dollar amounts from Part 1, Column A,
including the amounts from the Additional Page, if any.                                3a.                 $29,354,194.18
                                                                                              ____________________________




Official Form 206D                Schedule D: Creditors Who Have Claims Secured by Property                         page 3 of 3
                  Case 19-05154-dd
                Case 19-31285        Doccase:
                                          1 Filed    Doc 1    Filed09/19/19
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Fill in this information to identify the
                                                              Document
                                                              Document      Page 23 of 54
                                                                            Page 23 of 54
Debtor name      Oaktree Medical Centre, LLC
United States Bankruptcy Court for the:        Western                         District of   N Carolina
                                                                                             (State)
Case number (If known):

                                                                                                                            Check if this is an
Official Form 206E/F                                                                                                        amended filing

Schedule E/F: Creditors Who Have Unsecured Claims                                                                            12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY
unsecured claims. List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on
Schedule A/B: Assets - Real and Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official
Form 206G). Number the entries in Parts 1 and 2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the
Additional Page of that Part included in this form.

Part 1:       All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims?

        No. Go to Part 2
        Yes                                                                                                                            Priority Amount
                                                                                                                    Total Claim
2.1   Priority creditor's name and mailing address                  As of the petition filing date, the claim is:

                                                                    Check all that apply.
                                                                       Contingent
                                                                       Unliquidated
                                                                       Disputed


      Date or dates debt was incurred                               Basis for the claim:



      Last 4 digts of account number

                                                                    Is the claim subject to offset?
      Specify Code subsection of PRIORITY unsecured                      No
      claim: 11 U.S.C. § 507(a) (________)                               Yes




Official Form 206E/F                         Schedule E/F: Creditors Who Have Unsecured Claims                                        page 1 of 4
            CaseCase 19-05154-dd Doc
                   19-31285       Doc1 1 Filed
                                           Filed09/19/19
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                                                           Entered09/19/19
                                                                    10/01/1916:51:22
                                                                             14:19:36 DescDescMain Main
 Oaktree Medical Centre, LLC
                                          Document
                                          Document       Page 24 of 54
                                                         Page 24 of 54
  Debtor Name                                                                  Case Number (if known)


Part 2:    All Creditors with NONPRIORITY Unsecured Claims
Copy this page only if more space is needed. Continue numbering the lines sequentially from the
previous page. If no additional PRIORITY creditors exist, do not fill out or submit this page.                                          Amount of Claim

3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority
   unsecured claims, fill out and attach the Additional Page of Part 2.
3.1        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                   UNKNOWN
s919       BRANDON COFFEY                                                     Check all that apply.
           C/O ELDRIDGE & BLAKNEY, PC                                            Contingent
           TROY S WESTON                                                         Unliquidated
           THE CHEROKEE BLDG, 400 W CHURCH AVE., STE 101                         Disputed
           KNOXVILLE, TN 37902

           Date or dates debt was incurred                                    Basis for the claim:    LITIGATION
                                                                                                      BRANDON COFFEY COMPLAINT
           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3.2        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                   UNKNOWN
s924       DAVID BRUCE COFFEY                                                 Check all that apply.
           C/O CLINCH RIVER LAW, PLC                                             Contingent
           ROBERT DZIEWULSKI                                                     Unliquidated
           300 MARKET ST.                                                        Disputed
           CLINTON, TN 37716

           Date or dates debt was incurred                                    Basis for the claim:    LITIGATION
                                                                                                      COFFEY V. COFFEY FAMILY MEDICAL, PC
           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes


3.3        Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is:                   UNKNOWN
s957       JAMESTOWN INTERNAL MEDICINE                                        Check all that apply.
           100 SOUTH DUNCAN STREET                                               Contingent
           JAMESTOWN, TN 38555                                                   Unliquidated
                                                                                 Disputed


           Date or dates debt was incurred                                    Basis for the claim:    LITIGATION
                                                                                                      ALLEGED BREACH OF LEASE AGREEMENT
           Last 4 digts of account number
                                                                              Is the claim subject to offset?
                                                                                   No
                                                                                   Yes




Official Form 206E/F                   Schedule E/F: Creditors Who Have Unsecured Claims                                                page 2 of 4
             Case Case 19-05154-dd Doc
                    19-31285        Doc1 1 Filed
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                                                                               14:19:36 DescDescMain Main
  Oaktree Medical Centre, LLC
                                            Document
                                            Document       Page 25 of 54
                                                           Page 25 of 54
  Debtor Name                                                                    Case Number (if known)


Part 3:      List Others to Be Notified About Unsecured Claims
List in alphabetical order any others who must be notified for claims already listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy this page.

    Name and address                                                                                     On which line in Part 1 or Part 2 did           Last 4 digts of account
                                                                                                         you enter the related creditor?                 number for this entity
     DAVID BRUCE COFFEY                                                                                  s924
     261 UNDERPASS DR.
     ONEIDA, TN 37841-5885




Official Form 206E/F                        Schedule E/F: Creditors Who Have Unsecured Claims                                                                  page 3 of 4
               Case 19-05154-dd Doc
            Case   19-31285      Doc1 1 Filed
                                          Filed09/19/19
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                                                          Entered09/19/19
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                                                                            14:19:36 DescDescMain Main
 Oaktree Medical Centre, LLC
                                         Document
                                         Document       Page 26 of 54
                                                        Page 26 of 54
 Debtor Name                                                                  Case Number (if known)


Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                   Total of Claim Amounts



5a. Total Claims from Part 1                                                         5a.                          $0.00
                                                                                               ____________________________




                                                                                                                  $0.00
5b. Total Claims from Part 2                                                         5b.   +   ____________________________
                                                                                                        PLUS UNKNOWN




5c. Total of Parts 1 and 2                                                           5c.                          $0.00
                                                                                               ____________________________
    Lines 5a + 5b = 5c.                                                                                 PLUS UNKNOWN




Official Form 206E/F             Schedule E/F: Creditors Who Have Unsecured Claims                                page 4 of 4
                  Case
                    Case19-05154-dd
                            19-31285 Doc         Doc1 1 Filed
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                                                                09/19/19 Entered
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                                                                                                           Main
  Fill in this information to identify the case:
                                                         Document
                                                         Document       Page 27 of 54
                                                                        Page 27 of 54
  Debtor name Oaktree Medical Centre, LLC

  United States Bankruptcy Court for the:      Western                        District of   N Carolina
                                                                                            (State of)
  Case Number (if known):                                                       Chapter     7                                    Check if this is an
                                                                                                                                 amended filing

Official Form 206G
SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES                                                                                              12/15

  Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, numbering the entries consecutively.
  1. Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the court with the debtor’s other schedules.
       Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Assets - Real and Personal Property
       (Official Form 206A/B).

2. List all contracts and unexpired leases                                                          State the name and mailing address for all
                                                                                                    other parties with whom the debtor has an
                                                                                                    executory contract or unexpired lease
           State what the contract or     PROFESSIONAL SERVICES                                     HURON CONSULTING SERVICES, LLC
2. 1       lease is for and the nature                                                              4795 PAYSPHERE CIRCLE
           of the debtor’s interest                                                                 CHICAGO, IL 60674
           State the term remaining
          List the contract number of
          any government contract


           State what the contract or     PROFESSIONAL SERVICES                                     MCGUIREWOODS, LLP
2. 2       lease is for and the nature                                                              TOWER TWO- SIXTY
           of the debtor’s interest                                                                 260 FORBES AVE
           State the term remaining
                                                                                                    PITTSBURGH, PA 15222

          List the contract number of
          any government contract


           State what the contract or     PROFESSIONAL SERVICES                                     TIM DAILEADER (DRIVETRAIN) EFT
2. 3       lease is for and the nature                                                              257 CENTRAL PARK WEST APT 7A
           of the debtor’s interest                                                                 NEW YORK, NY 10024
           State the term remaining
          List the contract number of
          any government contract




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                            Page 1 of 1
                  Case
                    Case19-05154-dd
                            19-31285 Doc        Doc1 1 Filed
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                                                                                                          Main
 Fill in this information to identify your case:        Document
                                                        Document       Page 28 of 54
                                                                       Page 28 of 54
 Debtor 1       Oaktree Medical Centre, LLC

 United States Bankruptcy Court for the:     Western                         District of   N Carolina
                                                                                           (State of)
 Case Number (if known):                                                       Chapter     7                                          Check if this is an
                                                                                                                                      amended filing

 Official Form 206H
 SCHEDULE H - CODEBTORS                                                                                                                             12/15

 Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries
 consecutively. Attach the Additional Page to this page.


  1. Do you have any codebtors?
       No Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
       Yes

  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in
     the schedules of creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the
     creditor to whom the debt is owed and each schedule on which the creditor is listed. If the codebtor is liable on a
     debt to more than one creditor, list each creditor separately in Column 2.
         Column 1: Codebtor                                                    Column 2: Creditor                                  Check all
                                                                                                                                   schedules that
         Name and Mailing Address                                              Name
         DANIEL MCCOLLUM                                                       FIDUS INVESTMENT CORPORATION                           D (s896)
2.1      435 PROVIDENCE DR
         EASLEY, SC 29642                                                                                                             E/F

                                                                                                                                      G


         EAST TENNESSEE MEDICAL GROUP, P.C.                                    FIDUS INVESTMENT CORPORATION                           D (s896)
2.2      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G


         EXIGO PHARMACEUTICALS, LLC                                            FIDUS INVESTMENT CORPORATION                           D (s896)
2.3      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G


         FIRST CHOICE HEALTHCARE, P.C.                                         FIDUS INVESTMENT CORPORATION                           D (s896)
2.4      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G


         LABSOURCE, LLC                                                        FIDUS INVESTMENT CORPORATION                           D (s896)
2.5      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G


         OAKTREE MEDICAL CENTRE, P.C.                                          FIDUS INVESTMENT CORPORATION                           D (s896)
2.6      25 AIRPARK COURT
         GREENVILLE, SC 29607                                                                                                         E/F

                                                                                                                                      G




Official Form 206H                                          Schedule H: Codebtors                                                    Page 1 of 2
               Case
                 Case19-05154-dd
                         19-31285 Doc Doc1 1 Filed
                                               Filed09/19/19
                                                     09/19/19 Entered
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                                                                                                Main
 Debtor   Oaktree Medical Centre, LLC
                                              Document
                                              Document       Page 29
                                                             Page 29 of 54
                                                                     ofNumber
                                                                   Case 54 (if known):
          Name

      Additional Page to List More Codebtors
          Column 1: Codebtor                                   Column 2: Creditor             Check all
                                                                                              schedules that
          Name and Mailing Address                             Name
          PAIN MANAGEMENT ASSOCIATES OF NORTH CAROLINA, P.C.   FIDUS INVESTMENT CORPORATION      D (s896)
2.7       25 AIRPARK COURT
          GREENVILLE, SC 29607                                                                   E/F

                                                                                                 G




Official Form 206H                              Schedule H: Codebtors                           Page 2 of 2
            Case
             Case19-05154-dd Doc1 1 Filed
                  19-31285 Doc        Filed09/19/19
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                                                                                       Main
                                     Document
                                     Document       Page 30 of 54
                                                    Page 30 of 54

Fill in this information to identify the case:

             2DNWUHH 0HGLFDO &HQWUH //&
Debtor name __________________________________________________________________
                                        :HVWHUQ
United States Bankruptcy Court for the: ______________________             1 &DUROLQD
                                                               District of _________
                                                                              (State)
Case number (If known):   _________________________



                                                                                                                                      Check if this is an
                                                                                                                                         amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                    04/1

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

    
    ✔    None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                   Gross revenue
            may be a calendar year                                                            Check all that apply                 (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the                                                              Operating a business
           fiscal year to filing date:     From ___________
                                                  MM / DD / YYYY
                                                                    to     Filing date            Other _______________________    $________________


           For prior year:                 From ___________         to     ___________            Operating a business
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________

           For the year before that:       From ___________         to     ___________            Operating a business
                                                                                                                                    $________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                  Other _______________________




 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

     
     ✔   None

                                                                                              Description of sources of revenue    Gross revenue from each
                                                                                                                                   source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

           From the beginning of the
                                                                                              ___________________________          $________________
           fiscal year to filing date: From ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________



           For the year before that:       From ___________         to      ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________          $________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1
              Case
               Case19-05154-dd Doc1 1 Filed
                    19-31285 Doc        Filed09/19/19
                                              09/19/19 Entered
                                                        Entered09/19/19
                                                                 10/01/1916:51:22
                                                                          14:19:36 Desc
                                                                                    DescMain
                                                                                         Main
                                       Document
                                       Document       Page 31 of 54
                                                      Page 31 of 54
Debtor               2DNWUHH 0HGLFDO &HQWUH //&
                    _______________________________________________________                    Case number (if known)_____________________________________
                    Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,25. (This amount may be
    adjusted on 4/01/ and every 3 years after that with respect to cases filed on or after the date of adjustment.)

     
     ✔      None

             Creditor’s name and address                         Dates        Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________
              
     3.2.

             __________________________________________         ________       $_________________                Secured debt
             Creditor’s name
                                                                                                                 Unsecured loan repayments
             __________________________________________
             Street                                             ________                                         Suppliers or vendors
             __________________________________________                                                          Services
             __________________________________________
             City                          State    ZIP Code
                                                                ________                                         Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,25. (This amount may be adjusted on 4/01/ and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives;
    general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of
    the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                          Dates        Total amount or value         Reasons for payment or transfer
     4.1.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code


             Relationship to debtor
             __________________________________________


     4.2.

             __________________________________________        _________      $__________________         ___________________________________________
             Insider’s name
             __________________________________________        _________                                  ___________________________________________
             Street
             __________________________________________        _________                                  ___________________________________________
             __________________________________________
             City                          State    ZIP Code



             Relationship to debtor

             __________________________________________



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Debtor               2DNWUHH 0HGLFDO &HQWUH //&
                    _______________________________________________________                                Case number (if known)_____________________________________
                    Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
     
     ✔      None
            Creditor’s name and address                             Description of the property                                    Date               Value of property
     5.1.

            __________________________________________              ___________________________________________                    ______________     $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code

     5.2.

            __________________________________________              ___________________________________________                    _______________      $___________
            Creditor’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________              ___________________________________________
            __________________________________________
            City                          State       ZIP Code


 6. Setoffs
     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     
     ✔      None
             Creditor’s name and address                              Description of the action creditor took                      Date action was       Amount
                                                                                                                                   taken

             __________________________________________             ___________________________________________                  _______________      $___________
             Creditor’s name
             __________________________________________             ___________________________________________
             Street
             __________________________________________
             __________________________________________             Last 4 digits of account number: XXXX– __ __ __ __
             City                          State       ZIP Code


  Part 3:          Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                                   Nature of case                           Court or agency’s name and address                  Status of case

     7.1.
              6HH DWWDFKHG 5LGHU 
             _________________________________            ______________________________          __________________________________________              Pending
                                                                                                  Name
                                                                                                                                                          On appeal
                                                                                                  __________________________________________
             Case number                                                                          Street                                                  Concluded
                                                                                                  __________________________________________
             _________________________________                                                    __________________________________________
                                                                                                  City                   State             ZIP Code
              

             Case title                                                                             Court or agency’s name and address
                                                                                                                                                          Pending
     7.2.
             _________________________________            ______________________________          __________________________________________              On appeal
                                                                                                  Name
                                                                                                  __________________________________________
                                                                                                                                                          Concluded
             Case number
                                                                                                  Street
                                                                                                  __________________________________________
             _________________________________
                                                                                                  __________________________________________
                                                                                                  City                           State     ZIP Code


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Debtor                2DNWUHH 0HGLFDO &HQWUH //&
                     _______________________________________________________                           Case number (if known)_____________________________________
                     Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     
     ✔      None
              Custodian’s name and address                          Description of the property                        Value

             __________________________________________             ______________________________________             $_____________
             Custodian’s name
                                                                    Case title                                         Court name and address
             __________________________________________
             Street
                                                                   ______________________________________            __________________________________________
             __________________________________________                                                              Name
             __________________________________________             Case number                                      __________________________________________
             City                          State       ZIP Code                                                      Street
                                                                   ______________________________________            __________________________________________
                                                                    Date of order or assignment                      __________________________________________
                                                                                                                     City                 State               ZIP Code

                                                                   ______________________________________

 Part 4:           Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     
     ✔      None
             Recipient’s name and address                           Description of the gifts or contributions                   Dates given           Value


            __________________________________________              ___________________________________________                 _________________   $__________
     9.1.
            Recipient’s name
            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code


              Recipient’s relationship to debtor
              __________________________________________


            __________________________________________              ___________________________________________                 _________________   $__________
     9.2. Recipient’s name

            __________________________________________              ___________________________________________
            Street
            __________________________________________
            __________________________________________
            City                          State       ZIP Code

              Recipient’s relationship to debtor
              __________________________________________


 Part 5:           Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

     
     ✔      None
             Description of the property lost and how the loss      Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                               If you have received payments to cover the loss, for                            lost
                                                                    example, from insurance, government compensation, or
                                                                    tort liability, list the total received.
                                                                    List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                    Assets – Real and Personal Property).


             ___________________________________________            ___________________________________________                 _________________   $__________
             ___________________________________________


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                   _______________________________________________________                        Case number (if known)_____________________________________
                   Name




 Part 6:       Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

     
     ✔     None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            __________________________________________
   11.1.                                                      ___________________________________________
                                                                                                                         ______________      $_________
            Address
                                                              ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code


            Email or website address
            _________________________________

            Who made the payment, if not debtor?


            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________        ___________________________________________
                                                                                                                         ______________      $_________
            Address                                           ___________________________________________
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State      ZIP Code

            Email or website address
            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________


 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________        ___________________________________________                 ______________      $_________

            Trustee                                           ___________________________________________
            __________________________________________




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                   Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                               Description of property transferred or payments received   Date transfer      Total amount or
                                                                 or debts paid in exchange                                  was made           value



   13.1.    __________________________________________           ___________________________________________                ________________    $_________

                                                                 ___________________________________________
            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________




            Who received transfer?
                                                                 ___________________________________________                ________________    $_________

   13.2.    __________________________________________           ___________________________________________

            Address
            __________________________________________
            Street
            __________________________________________
            __________________________________________
            City                        State     ZIP Code


            Relationship to debtor

            __________________________________________



 Part 7:       Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

          Does not apply
            Address                                                                                              Dates of occupancy


   14.1.      $LUSDUN &RXUW
            _______________________________________________________________________                              From        
                                                                                                                            ____________       To    
                                                                                                                                                    ____________
            Street
            _______________________________________________________________________
             *UHHQYLOOH                                6&          
            _______________________________________________________________________
            City                                             State         ZIP Code


   14.2.    _______________________________________________________________________                              From       ____________       To   ____________
            Street
            _______________________________________________________________________
            _______________________________________________________________________
            City                                             State         ZIP Code


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Debtor              2DNWUHH 0HGLFDO &HQWUH //&
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                   Name




 Part 8:           Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ____________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                            ■


                                                                                                                                           
                                                                                                                                            ■
                                                                                                                                             Paper

            Facility name and address                          Nature of the business operation, including type of services the            If debtor provides meals
                                                               debtor provides                                                             and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.    ________________________________________           ___________________________________________________________                 ____________________
            Facility name
                                                               ___________________________________________________________
            ________________________________________
            Street                                             Location where patient records are maintained (if different from facility   How are records kept?
                                                               address). If electronic, identify any service provider.
            ________________________________________
                                                                                                                                           Check all that apply:
                                                               ____________________________________________________________
            ________________________________________
            City                     State       ZIP Code      ____________________________________________________________
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:           Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

          No.
     
     ✔                                                                       3DWLHQW PHGLFDO DQG LQVXUDQFH LQIR DGGUHVV SKRQH GRE VRF VHFQRV
           Yes. State the nature of the information collected and retained. ___________________________________________________________________
                   Does the debtor have a privacy policy about that information?
                
                      No
                 ✔    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

     
     ✔     No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                      No. Go to Part 10.
                      Yes. Fill in below:
                          Name of plan                                                                           Employer identification number of the plan

                          _______________________________________________________________________                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___

                       Has the plan been terminated?
                           No
                           Yes



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                     _______________________________________________________                      Case number (if known)_____________________________________
                     Name




 Part 10:            Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

        ✔   None
              Financial institution name and address       Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.       ______________________________________      XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
              Name
                                                                                            Savings
              ______________________________________
              Street                                                                        Money market
              ______________________________________
                                                                                            Brokerage
              ______________________________________
              City                  State       ZIP Code                                    Other______________

   18.2.       ______________________________________      XXXX–___ ___ ___ ___            Checking                  ___________________      $__________
              Name
                                                                                            Savings
              ______________________________________
              Street                                                                        Money market
              ______________________________________
                                                                                            Brokerage
              ______________________________________
              City                  State       ZIP Code                                    Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

        ✔
             None

                Depository institution name and address    Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

               ______________________________________      __________________________________         __________________________________                 No
              Name
                                                           __________________________________         __________________________________
                                                                                                                                                         Yes
              ______________________________________
              Street                                       __________________________________         __________________________________             
              ______________________________________
              ______________________________________        Address                                                                                  
              City                  State       ZIP Code
                                                           ____________________________________

                                                           ____________________________________

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

            None

                Facility name and address                  Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
                6HH DWWDFKHG 5LGHU 
               ______________________________________
              Name
                                                           __________________________________         __________________________________               Yes
              ______________________________________
                                                           __________________________________         __________________________________              
              Street                                       __________________________________         __________________________________
              ______________________________________
              ______________________________________         Address                                                                                  
              City                  State       ZIP Code
                                                           ________________________________

                                                           _________________________________



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                 Name




 Part 11:        Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                              Location of the property                  Description of the property                 Value

                                                                                                                                                      $_______
          ______________________________________                __________________________________        __________________________________
          Name
                                                                __________________________________        __________________________________
          ______________________________________
          Street                                                __________________________________        __________________________________
          ______________________________________
          ______________________________________
          City                  State         ZIP Code




 Part 12:        Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                     Court or agency name and address                 Nature of the case                       Status of case

          _________________________________
                                                         _____________________________________            __________________________________         Pending
          Case number                                    Name
                                                                                                          __________________________________
                                                                                                                                                     On appeal

          _________________________________
                                                         _____________________________________
                                                         Street
                                                                                                                                                     Concluded
                                                                                                          __________________________________
                                                         _____________________________________                                                    
                                                         _____________________________________
                                                         City                    State     ZIP Code




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                           Governmental unit name and address               Environmental law, if known            Date of notice


          __________________________________             _____________________________________            __________________________________       __________
          Name                                           Name
                                                                                                          __________________________________
          __________________________________             _____________________________________
          Street                                         Street                                           __________________________________
          __________________________________             _____________________________________
          __________________________________             _____________________________________
          City                  State    ZIP Code        City                   State      ZIP Code




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Debtor              2DNWUHH 0HGLFDO &HQWUH //&
                   _______________________________________________________                         Case number (if known)_____________________________________
                   Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

           Site name and address                      Governmental unit name and address               Environmental law, if known                Date of notice


            __________________________________        ______________________________________           __________________________________           __________
            Name                                      Name
                                                                                                       __________________________________
            __________________________________        ______________________________________
            Street                                    Street                                           __________________________________
            __________________________________        ______________________________________
            __________________________________        ______________________________________
            City                  State    ZIP Code   City                 State        ZIP Code




 Part 13:            Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

          None


            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

                                                                                                                EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
   25.1.     6HH DWWDFKHG 5LGHU 
            __________________________________         _____________________________________________
            Name                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code




            Business name and address                  Describe the nature of the business                      Employer Identification number
   25.2.
                                                                                                                Do not include Social Security number or ITIN.

            __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                                                                                Dates business existed
                                                       _____________________________________________
            __________________________________
            Street                                     _____________________________________________
            __________________________________                                                                  From _______         To _______
            __________________________________
            City                  State    ZIP Code



            Business name and address                  Describe the nature of the business                      Employer Identification number
                                                                                                                Do not include Social Security number or ITIN.

   25.3.    __________________________________         _____________________________________________            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Name
                                                       _____________________________________________            Dates business existed
            __________________________________
            Street                                     _____________________________________________
            __________________________________
            __________________________________                                                                  From _______         To _______
            City                  State    ZIP Code




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                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                  Dates of service

                                                                                                                     
                                                                                                                From _______          
                                                                                                                                   To _______
   26a.1.     &KULVWLQH 2XHOHWWH
              __________________________________________________________________________________
              Name
               6WRQR 'ULYH
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
               *UHHQYLOOH                                   6&                  
              __________________________________________________________________________________
              City                                                State                 ZIP Code


              Name and address                                                                                  Dates of service

                                                                                                                     
                                                                                                                From _______          
                                                                                                                                   To _______
   26a.2.      'DYLG :HEE
              __________________________________________________________________________________
              Name
                &KHOVHD 3ODFH $YH
              __________________________________________________________________________________
              Street
              __________________________________________________________________________________
               2UPRQG %HDFK                                 )/                  
              __________________________________________________________________________________
              City                                                State                 ZIP Code



     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                     Name and address                                                                           Dates of service

                                                                                                                From _______          SUHVHQW
                                                                                                                                   To _______
         26b.1.       (OOLRWW 'DYLV //&
                     ______________________________________________________________________________
                     Name
                       ( %URDG 6WUHHW
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      *UHHQYLOOH                                   6&                  
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code


                     Name and address                                                                           Dates of service

                                                                                                                From _______       To _______
         26b.2.       'L[RQ +XJKHV *RRGPDQ /3
                     ______________________________________________________________________________
                     Name
                       %UHQGDQ :D\
                     ______________________________________________________________________________
                     Street
                     ______________________________________________________________________________
                      *UHHQYLOOH                                   6&                  
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
                 None
                                                                                                                If any books of account and records are
                     Name and address
                                                                                                                unavailable, explain why


         26c.1.       6HH DWWDFKHG 5LGHU F
                     ______________________________________________________________________________             _________________________________________
                     Name
                                                                                                                _________________________________________
                     ______________________________________________________________________________
                     Street                                                                                     _________________________________________
                     ______________________________________________________________________________
                     ______________________________________________________________________________
                     City                                             State                 ZIP Code



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Debtor                2DNWUHH 0HGLFDO &HQWUH //&
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




                       Name and address                                                                         If any books of account and records are
                                                                                                                unavailable, explain why


           26c.2.      ______________________________________________________________________________           _________________________________________
                       Name
                                                                                                                _________________________________________
                       ______________________________________________________________________________
                       Street                                                                                   _________________________________________
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code



     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                    None

                       Name and address


           26d.1.       6HH DWWDFKHG 5LGHU G
                       ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code


                       Name and address


           26d.2.      ______________________________________________________________________________
                       Name
                       ______________________________________________________________________________
                       Street
                       ______________________________________________________________________________
                       ______________________________________________________________________________
                       City                                            State                   ZIP Code




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
  
  ✔         No
          Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                        Date of      The dollar amount and basis (cost, market, or
                                                                                                    inventory    other basis) of each inventory


              ______________________________________________________________________               _______       $___________________

               Name and address of the person who has possession of inventory records


   27.1.       ______________________________________________________________________
              Name
              ______________________________________________________________________
              Street
              ______________________________________________________________________
              ______________________________________________________________________
              City                                                     State        ZIP Code




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Debtor              2DNWUHH 0HGLFDO &HQWUH //&
                   _______________________________________________________                     Case number (if known)_____________________________________
                   Name




            Name of the person who supervised the taking of the inventory                     Date of           The dollar amount and basis (cost, market, or
                                                                                              inventory         other basis) of each inventory

            ______________________________________________________________________            _______         $___________________

            Name and address of the person who has possession of inventory records


   27.2.    ______________________________________________________________________
            Name
            ______________________________________________________________________
            Street
            ______________________________________________________________________
            ______________________________________________________________________
            City                                                    State         ZIP Code


 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.

            Name                                Address                                              Position and nature of any             % of interest, if any
                                                                                                     interest
             'U 'DQLHO $ 0F&ROOXP              3URYLGHQFH :D\ (DVOH\ 6&                   2ZQHU  6FKHGXOH & )LOHU                
            ____________________________        _____________________________________________        ____________________________            _______________
             $DURQ .LEEH\                        WK $YH 1HZ <RUN 1<                        &KLHI 5HVWUXFWXULQJ 2IILFHU
            ____________________________        _____________________________________________        ____________________________            _______________
             7LPRWK\ 'DLOHDGHU                   7KLUG $YH VW )ORRU 1HZ <RUN 1<           0DQDJHU
            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

            ____________________________        _____________________________________________        ____________________________            _______________

 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in control
     of the debtor, or shareholders in control of the debtor who no longer hold these positions?
        No
 
  ✔        Yes. Identify below.

            Name                                Address                                               Position and nature of          Period during which
                                                                                                      any interest                    position or interest was
                                                                                                                                      held
             0LFKDHO %URKP                       5LYHU %RWWRP 'ULYH 1RUFURVV *$              &KLHI ([HFXWLYH 2IILFHU                 
            ____________________________        _____________________________________________         ______________________          From _____ To _____
             'DYLG :HEE                          &KHOVHD 3ODFH $YH 2UPRQG %FK )/             &KLHI )LQDQFLDO 2IILFHU                 
            ____________________________        _____________________________________________         ______________________          From _____ To _____
             'U 'DQLHO $ 0F&ROOXP              3URYLGHQFH :D\ (DVOH\ 6&                     0DQDJHU                                     
            ____________________________        _____________________________________________         ______________________          From _____ To _____

            ____________________________        _____________________________________________         ______________________          From _____ To _____

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
  
  ✔        No
         Yes. Identify below.

            Name and address of recipient                                            Amount of money or                   Dates              Reason for
                                                                                     description and value of                                providing the value
                                                                                     property


   30.1.    ______________________________________________________________            _________________________           _____________       ____________
            Name
            ______________________________________________________________
            Street                                                                                                       _____________
            ______________________________________________________________
            ______________________________________________________________                                               _____________
            City                                     State          ZIP Code

            Relationship to debtor                                                                                       _____________

            ______________________________________________________________                                               _____________

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Debtor                2DNWUHH 0HGLFDO &HQWUH //&
                     _______________________________________________________                        Case number (if known)_____________________________________
                     Name




              Name and address of recipient
                                                                                            __________________________     _____________       ______________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________
              ______________________________________________________________
              Street                                                                                                       _____________
              ______________________________________________________________
              ______________________________________________________________                                               _____________
              City                                            State      ZIP Code


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
            No
     
     ✔       Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation
               'DQLHO 0F&ROOXP
              ______________________________________________________________                                     ___
                                                                                                         EIN: ___   – ___
                                                                                                                         ___
                                                                                                                            ___
                                                                                                                               ___
                                                                                                                                  ___
                                                                                                                                     ___
                                                                                                                                        ___
                                                                                                                                          



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
     
     ✔       No
            Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund

              ______________________________________________________________                             EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___



 Part 14:              Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on         8  
                               _________________
                                MM / DD / YYYY



             ___________________________________________________________                              $DURQ .LEEH\
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 &KLHI 5HVWUXFWXULQJ 2IILFHU
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




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3DUW
          /HJDO$FWLRQVRI$VVLJQPHQWV
/HJDODFWLRQVDGPLQLVWUDWLYHSURFHHGLQJVFRXUWDFWLRQVH[HFXWLRQVDWWDFKPHQWVRUJRYHUQPHQWDODXGLWVZLWKLQ\HDUEHIRUHILOLQJWKLVFDVH




          ^d/d>                               ^EhDZ              EdhZK&^                           KhZdKZ'EzΖ^EDEZ^^      ^ddh^

ϳ͘ϭ       ŽĨĨĞǇǀŽĨĨĞǇ&ĂŵŝůǇDĞĚŝĐĂů͕ĞƚĂů͘   ϭϭ͕ϬϮϯ                   ůůĞŐĞĚďƌĞĂĐŚŽĨůĞĂƐĞĂŐƌĞĞŵĞŶƚǁŝƚŚ ^ĐŽƚƚŽƵŶƚǇŚĂŶĐĞƌǇŽƵƌƚͲdE           WĞŶĚŝŶŐ
                                                                            ƌ͘ŽĨĨĞǇ                              ϱϳϱ^ĐŽƚƚ,ŝŐŚƌ͕,ƵŶƚƐǀŝůůĞ͕dEϯϳϳϱϲ
ϳ͘Ϯ       ŽĨĨĞǇǀŽĨĨĞǇ&ĂŵŝůǇDĞĚŝĐĂů͕ĞƚĂů͘   ϭϭ͕ϬϮϮ                   ůůĞŐĞĚďƌĞĂĐŚŽĨĞŵƉůŽǇŵĞŶƚ           ^ĐŽƚƚŽƵŶƚǇŚĂŶĐĞƌǇŽƵƌƚͲdE           WĞŶĚŝŶŐ
                                                                            ĂŐƌĞĞŵĞŶƚǁŝƚŚƌ͘ŽĨĨĞǇ               ϱϳϱ^ĐŽƚƚ,ŝŐŚƌ͕,ƵŶƚƐǀŝůůĞ͕dEϯϳϳϱϲ
ϳ͘ϯ       :ĂŵĞƐƚŽǁŶ/ŶƚĞƌŶĂůDĞĚŝĐŝŶĞǀ͘KĂŬdƌĞĞ '^ϭϵsϭϲϲϵ               ŽŵƉůĂŝŶƚĨŽƌƵŶƉĂŝĚƌĞŶƚ               dĞŶŶĞƐƐĞĞŽƵƌƚŽĨ'ĞŶĞƌĂů^ĞƐƐŝŽŶƐ       WĞŶĚŝŶŐ
          DĞĚŝĐĂůĞŶƚƌĞ͕>>                                                                                       ƵŵďĞƌůĂŶĚŽƵŶƚǇ
ϳ͘ϰ       ƌĂŶĚŽŶŽĨĨĞǇŵƉůŽǇŵĞŶƚůĂŝŵ          Eͬ                      ĞŵĂŶĚůĞƚƚĞƌƌĞŐĂƌĚŝŶŐĂůůĞŐĞĚďƌĞĂĐŚ Eͬ                                        WĞŶĚŝŶŐ
                                                                            ŽĨĞŵƉůŽǇŵĞŶƚĂŐƌĞĞŵĞŶƚ




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3DUW
          &HUWDLQ3D\PHQWVRU7UDQVIHUV
7UDQVIHUVQRWDOUHDG\OLVWHGRQWKLVVWDWHPHQW


                                                 ĞƐĐƌŝƉƚŝŽŶŽĨƉƌŽƉĞƌƚǇƚƌĂŶƐĨĞƌƌĞĚ
          ZĞĐŝƉŝĞŶƚŽĨdƌĂŶƐĨĞƌ                  ŽƌƉĂǇŵĞŶƚƐƌĞĐĞŝǀĞĚŽƌĚĞďƚƐƉĂŝĚ ĂƚĞƚƌĂŶƐĨĞƌǁĂƐ      dŽƚĂůĂŵŽƵŶƚŽƌ
          EĂŵĞĂŶĚĂĚĚƌĞƐƐ                       ŝŶĞǆĐŚĂŶŐĞ                          ŵĂĚĞ                   ǀĂůƵĞ

ϭϯ͘ϭ      ůŝƚĞŝĂŐŶŽƐƚŝĐƐ                      ^ĂůĞŽĨ&ŝƌƐƚŚŽŝĐĞ>ĂďƋƵŝƉŵĞŶƚ               ϴͬϮϯͬϮϬϭϵ         ΨϭϮϱ͕ϬϬϬ͘ϬϬ
          ϵϳϯϭͲ:^ŽƵƚŚĞƌŶWŝŶĞůǀĚ͘
          ŚĂƌůŽƚƚĞ͕EϮϴϮϳϯ
ϭϯ͘Ϯ      ůĂƌŝƚǇ                                ^ĂůĞŽĨKƚŚĞƌ>ĂďƋƵŝƉŵĞŶƚ;WK>Ϳ               ϴͬϮϴͬϮϬϭϵ          ΨϮϰ͕ϬϬϬ͘ϬϬ
          ϯϯϭϮE͘KĂŬ^ƚ͘ǆƚ͘^ƚĞ͘ϯ
          sĂůĚŽƐƚĂ͕ϯϭϲϬϱ
ϭϯ͘ϯ      'ĞŽƌŐŝĂDĞĚWƌŽ>>                     ^ĂůĞŽĨtĞƐƚŽůƵŵďŝĂƋƵŝƉŵĞŶƚ                 ϴͬϮϵͬϮϬϭϵ          ΨϮϳ͕ϬϬϬ͘ϬϬ
          ϭϮϱdĂůŵĂĚŐĞƌ^
          DŽƵůƚƌŝĞ͕'ϯϭϳϲϴ
ϭϯ͘ϰ      DƵůƚŝ^ƉĞĐŝĂůƚǇŝůůŝŶŐ>>            ^ĂůĞŽĨĂƐůĞǇ^ƚŽƌĂŐĞhŶŝƚƐ                    ϵͬϭϲͬϮϬϭϵ           Ψϭ͕ϬϬϬ͘ϬϬ
          ϮϰϳƵĚƵďŽŶĐƌĞƐƌ
          ĂƐůĞǇ͕^ϮϵϲϰϮ
          ;&ŽƌŵĞƌŵƉůŽǇĞĞΖƐƵƐŝŶĞƐƐͿ
ϭϯ͘ϱ      dŽƚĂůDĞĚŝĐĂůƋƵŝƉŵĞŶƚ^ĂůĞƐĂŶĚ     ^ĂůĞŽĨĂƐůĞǇůŝŶŝĐƋƵŝƉŵĞŶƚ     ϵͬϲͬϮϬϭϵΘϵͬϭϬͬϮϬϭϵ           ΨϮϲ͕ϬϬϬ͘ϬϬ
          ^ĞƌǀŝĐĞ
          ϭϱϮϱDŽƌƌŝƐŽŶWĂƌŬǁĂǇ
          ůƉŚĂƌĞƚƚĂ͕'ϯϬϬϬϵ
ϭϯ͘ϲ      dŽƚĂůDĞĚŝĐĂůƋƵŝƉŵĞŶƚ^ĂůĞƐĂŶĚ     ^ĂůĞŽĨĂƐůĞǇyͲZĂǇ                            ϵͬϭϬͬϮϬϭϵ           Ψϱ͕ϬϬϬ͘ϬϬ
          ^ĞƌǀŝĐĞ
          ϭϱϮϱDŽƌƌŝƐŽŶWĂƌŬǁĂǇ
          ůƉŚĂƌĞƚƚĂ͕'ϯϬϬϬϵ
ϭϯ͘ϳ      DƵůƚŝ^ƉĞĐŝĂůƚǇŝůůŝŶŐ>>            ^ĂůĞŽĨĂƐůĞǇ&ƵƌŶŝƚƵƌĞ                        ϵͬϭϭͬϮϬϭϵ           Ψϳ͕ϬϬϬ͘ϬϬ
          ϮϰϳƵĚƵďŽŶĐƌĞƐƌ
          ĂƐůĞǇ͕^ϮϵϲϰϮ
          ;&ŽƌŵĞƌŵƉůŽǇĞĞΖƐƵƐŝŶĞƐƐͿ
ϭϯ͘ϴ      dŽƚĂůDĞĚŝĐĂůƋƵŝƉŵĞŶƚ^ĂůĞƐĂŶĚ     ^ĂůĞŽĨ'ƌŽǀĞZŽĂĚůŝŶŝĐƋƵŝƉŵĞŶƚ ϵͬϲͬϮϬϭϵΘϵͬϭϬͬϮϬϭϵ           Ψϰϱ͕ϬϬϬ͘ϬϬ
          ^ĞƌǀŝĐĞ
          ϭϱϮϱDŽƌƌŝƐŽŶWĂƌŬǁĂǇ
          ůƉŚĂƌĞƚƚĂ͕'ϯϬϬϬϵ
ϭϯ͘ϵ      DƵůƚŝ^ƉĞĐŝĂůƚǇŝůůŝŶŐ>>            ^ĂůĞŽĨ'ƌŽǀĞ&ƵƌŶŝƚƵƌĞ                         ϵͬϭϭͬϮϬϭϵ           Ψϱ͕ϬϬϬ͘ϬϬ
          ϮϰϳƵĚƵďŽŶĐƌĞƐƌ
          ĂƐůĞǇ͕^ϮϵϲϰϮ
          ;&ŽƌŵĞƌŵƉůŽǇĞĞΖƐƵƐŝŶĞƐƐͿ
ϭϯ͘ϭϬ     ^ƵƉĞƌŝŽƌWĂŝŶDĂŶĂŐĞŵĞŶƚ               ^ĂůĞŽĨŶĚĞƌƐŽŶůŝŶŝĐƋƵŝƉŵĞŶƚ               ϴͬϮϴͬϮϬϭϵ          Ψϯϱ͕ϱϬϬ͘ϬϬ
          ϭϬϴDŽŶƚŐŽŵĞƌǇƌŝǀĞ
          ŶĚĞƌƐŽŶ͕^ϮϵϲϮϭ
          ;&ŽƌŵĞƌŵƉůŽǇĞĞΖƐďƵƐŝŶĞƐƐͿ
ϭϯ͘ϭϭ     'ĞŽƌŐŝĂDĞĚWƌŽ>>                     ^ĂůĞŽĨEŽůƵŵďŝĂƋƵŝƉŵĞŶƚ       ϵͬϱͬϮϬϭϵΘϵͬϭϬͬϮϬϭϵ           ΨϮϭ͕ϱϬϬ͘ϬϬ
          ϭϮϱdĂůŵĂĚŐĞƌ^
          DŽƵůƚƌŝĞ͕'ϯϭϳϲϴ
ϭϯ͘ϭϮ     ƌ͘:ĞĨĨƌĞǇ&ĂƌƌŝĐŝĞůůŝD             ^ĂůĞŽĨ&ůŽƌĞŶĐĞůŝŶŝĐƋƵŝƉŵĞŶƚ               ϴͬϮϵͬϮϬϭϵ          ΨϮϮ͕ϱϬϬ͘ϬϬ
          ϯϵϭϮƐŚƚŽŶ^ŚŽƌĞ>ĂŶĞ
          DŽƵŶƚWůĞĂƐĂŶƚ͕^Ϯϵϰϲϲ
ϭϯ͘ϭϯ     'ĞŽƌŐŝĂDĞĚWƌŽ>>                     ^ĂůĞŽĨ^ƵŵƚĞƌůŝŶŝĐƋƵŝƉŵĞŶƚ                 ϵͬϭϬͬϮϬϭϵ          ΨϮϱ͕ϬϬϬ͘ϬϬ
          ϭϮϱdĂůŵĂĚŐĞƌ^
          DŽƵůƚƌŝĞ͕'ϯϭϳϲϴ
ϭϯ͘ϭϰ     >ϱн^ϭDĞĚ,ŽůĚŝŶŐƐ                     ^ĂůĞŽĨ^ƵŵƚĞƌůŝŶŝĐ                           ϵͬϱͬϮϬϭϵ          Ψϭϭ͕ϱϬϬ͘ϬϬ



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          &HUWDLQ3D\PHQWVRU7UDQVIHUV
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                                                 ĞƐĐƌŝƉƚŝŽŶŽĨƉƌŽƉĞƌƚǇƚƌĂŶƐĨĞƌƌĞĚ
          ZĞĐŝƉŝĞŶƚŽĨdƌĂŶƐĨĞƌ                  ŽƌƉĂǇŵĞŶƚƐƌĞĐĞŝǀĞĚŽƌĚĞďƚƐƉĂŝĚ ĂƚĞƚƌĂŶƐĨĞƌǁĂƐ        dŽƚĂůĂŵŽƵŶƚŽƌ
          EĂŵĞĂŶĚĂĚĚƌĞƐƐ                       ŝŶĞǆĐŚĂŶŐĞ                          ŵĂĚĞ                     ǀĂůƵĞ

ϭϯ͘ϭϱ     'ĞŽƌŐŝĂDĞĚWƌŽ>>                     ^ĂůĞŽĨDǇƌƚůĞĞĂĐŚůŝŶŝĐ           ϵͬϱͬϮϬϭϵΘϵͬϭϬͬϮϬϭϵ          ΨϮϴ͕ϬϬϬ͘ϬϬ
          ϭϮϱdĂůŵĂĚŐĞƌ^                     ƋƵŝƉŵĞŶƚ
          DŽƵůƚƌŝĞ͕'ϯϭϳϲϴ
ϭϯ͘ϭϲ     dŽƚĂůDĞĚŝĐĂůƋƵŝƉŵĞŶƚ^ĂůĞƐĂŶĚ     ^ĂůĞŽĨ^ƉĂƌƚĂŶďƵƌŐyͲZĂǇ                         ϵͬϭϬͬϮϬϭϵ          ΨϭϮ͕ϬϬϬ͘ϬϬ
          ^ĞƌǀŝĐĞ
          ϭϱϮϱDŽƌƌŝƐŽŶWĂƌŬǁĂǇ
ϭϯ͘ϭϳ     'ĞŽƌŐŝĂDĞĚWƌŽ>>                     ^ĂůĞŽĨ^ƉĂƌƚĂŶďƵƌŐůŝŶŝĐƋƵŝƉŵĞŶƚ              ϵͬϭϲͬϮϬϭϵ           Ψϳ͕ϱϬϬ͘ϬϬ
          ϭϮϱdĂůŵĂĚŐĞƌ^
          DŽƵůƚƌŝĞ͕'ϯϭϳϲϴ
ϭϯ͘ϭϴ     DƵůƚŝ^ƉĞĐŝĂůƚǇŝůůŝŶŐ>>            ^ĂůĞŽĨ^ƉĂƌƚĂŶďƵƌŐůŝŶŝĐ&ƵƌŶŝƚƵƌĞ              ϵͬϭϭͬϮϬϭϵ           Ψϱ͕ϬϬϬ͘ϬϬ
          ϮϰϳƵĚƵďŽŶĐƌĞƐƌ
          ĂƐůĞǇ͕^ϮϵϲϰϮ
          ;&ŽƌŵĞƌŵƉůŽǇĞĞΖƐƵƐŝŶĞƐƐͿ
ϭϯ͘ϭϵ     ŽŵƉƵƚĞƌƐŽŶDĂŝŶ                      ^ĂůĞŽĨ/dƐƐĞƚƐͲtŽƌŬƐƚĂƚŝŽŶƐн                ϵͬϵͬϮϬϭϵ          Ψϭϲ͕ϬϬϬ͘ϬϬ
          ϲϰϭEDĂŝŶ^ƚ                          DŽŶŝƚŽƌƐ
          'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϵ
ϭϯ͘ϮϬ     ĂǁŶZŝĐŚĂƌĚƐ                          ^ĂůĞŽĨϮϬϭϯ>ĞǆƵƐ^                             ϴͬϮϵͬϮϬϭϵ           Ψϲ͕ϴϬϬ͘ϬϬ
          ϭϮϲDŽƌŶŝŶŐ>ĂŬĞƌŝǀĞ
          DŽŽƌĞ͕^Ϯϵϯϲϵ
ϭϯ͘Ϯϭ     ^ƵƉĞƌŝŽƌWĂŝŶDĂŶĂŐĞŵĞŶƚ               ^ĂůĞŽĨhůƚƌĂƐŽƵŶĚDĂĐŚŝŶĞ                        ϵͬϭϭͬϮϬϭϵ           ΨϮ͕ϱϬϬ͘ϬϬ
          ϭϬϴDŽŶƚŐŽŵĞƌǇƌŝǀĞ
          ŶĚĞƌƐŽŶ͕^ϮϵϲϮϭ
          ;&ŽƌŵĞƌŵƉůŽǇĞĞΖƐďƵƐŝŶĞƐƐͿ
ϭϯ͘ϮϮ     dŽǇŽƚĂŽĨĂƐůĞǇ                       ^ĂůĞŽĨdŽǇŽƚĂͲϮϬϬϴDĂƚƌŝǆ                       ϵͬϵͬϮϬϭϵ           ΨϮ͕ϬϬϬ͘ϬϬ
          ϱϲϰϯĂůŚŽƵŶDĞŵŽƌŝĂů,ǁǇ
          ĂƐůĞǇ͕^ϮϵϲϰϮ
ϭϯ͘Ϯϯ     ^ƵƉĞƌŝŽƌWĂŝŶDĂŶĂŐĞŵĞŶƚ               ^ĂůĞŽĨhůƚƌĂƐŽƵŶĚDĂĐŚŝŶĞ                        ϵͬϭϭͬϮϬϭϵ           ΨϮ͕ϱϬϬ͘ϬϬ
          ϭϬϴDŽŶƚŐŽŵĞƌǇƌŝǀĞ
          ŶĚĞƌƐŽŶ͕^ϮϵϲϮϭ
          ;&ŽƌŵĞƌŵƉůŽǇĞĞΖƐďƵƐŝŶĞƐƐͿ
ϭϯ͘Ϯϰ     dŽǇŽƚĂŽĨĂƐůĞǇ                       ^ĂůĞŽĨdŽǇŽƚĂͲϮϬϬϴDĂƚƌŝǆ                       ϵͬϵͬϮϬϭϵ           ΨϮ͕ϬϬϬ͘ϬϬ
          ϱϲϰϯĂůŚŽƵŶDĞŵŽƌŝĂů,ǁǇ
          ĂƐůĞǇ͕^ϮϵϲϰϮ




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3DUW
          &HUWDLQ)LQDQFLDO$FFRXQWV6DIH'HSRVLW%R[HVDQG6WRUDJH8QLWV
2IISUHPLVHVVWRUDJHZKHUHSURSHUW\NHSWZLWKLQ\HDUEHIRUHILOLQJ

                                                                                                                                   'RHVGHEWRU
                                                         1DPHRIDQ\RQHZLWK                                                      VWLOOKDYHLW"
           )DFLOLW\QDPH         )DFLOLW\DGGUHVV        DFFHVVWRLW         $GGUHVV             'HVFULSWLRQRIWKHFRQWHQWV           <1


ϮϬ͘ϭ       ǆƚƌĂ^ƚŽƌĂŐĞ^ƉĂĐĞ   Ϭϰ>ĂsŽŶ>Ŷ            ĂŶŝĞůDĐŽůůƵŵ     ϰϯϱWƌŽǀŝĚĞŶĐĞtĂǇ &ƵƌŶŝƚƵƌĞĂŶĚ&ŝǆƚƵƌĞƐ             EŽ
                                 ĂƐůĞǇ͕^ϮϵϲϰϮ                           ĂƐůĞǇ͕^ϮϵϲϰϮ

ϮϬ͘Ϯ       ǆƚƌĂ^ƚŽƌĂŐĞ^ƉĂĐĞ   Ϭϰ>ĂsŽŶ>Ŷ            DĂŶĚǇĂůƚŽŶ        ϮϰϳƵĚŽďŽŶĐƌĞƐ &ƵƌŶŝƚƵƌĞĂŶĚ&ŝǆƚƵƌĞƐ             EŽ
                                 ĂƐůĞǇ͕^ϮϵϲϰϮ                           ƌ
                                                                             ĂƐůĞǇ͕^ϮϵϲϰϮ
ϮϬ͘ϯ       /ƌŽŶDŽƵŶƚĂŝŶ         WKŽǆϮϳϭϮϴ            ,ƵƌŽŶŽŶƐƵůƚŝŶŐ    ϭϭϲϲϲƚŚǀĞŶƵĞ     WĂƉĞƌǁŽƌŬ                         zĞƐ
                                 EĞǁzŽƌŬ͕EzϭϬϬϴϳ                         EĞǁzŽƌŬ͕EzϭϬϬϯϲ

ϮϬ͘ϰ       ^ŚƌĞĚŵĞƌŝĐĂ         ϭϲϴϮ<ĂƚǇ>ĂŶĞ          WĂƚƌŝĐŬ>ĂǁƚŽŶ      ϮϮϲWĞƚĞƌƐ'ůĞŶŶƚ   WĂƉĞƌǁŽƌŬKŶůǇ                  zĞƐ
           ZĞĐŽƌĚƐ^ƚŽƌĂŐĞ       &ŽƌƚDŝůů͕^ϮϵϳϬϴ                        ^ŝŵƉƐŽŶǀŝůůĞ͕^
                                                                             Ϯϵϲϴϭ
ϮϬ͘ϱ       >ŝĨĞ^ƚŽƌĂŐĞ          ϭϳϬϭtŽŽĚƌƵĨĨ>ĂŶĞ      WĂƚƌŝĐŬ>ĂǁƚŽŶ      ϮϮϲWĞƚĞƌƐ'ůĞŶŶƚ   ŽƌƉŽƌĂƚĞŽĐƵŵĞŶƚƐͬ          zĞƐ
                                 'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ                       ^ŝŵƉƐŽŶǀŝůůĞ͕^    WŚǇƐŝĐĂůŽƌƉŽƌĂƚĞ^ĞƌǀĞƌƐͬ
                                                                             Ϯϵϲϴϭ                 KƚŚĞƌƌĞŵĂŝŶŝŶŐĞƋƵŝƉŵĞŶƚ
ϮϬ͘ϲ       ŶƌŽƵƚĞEĞƚǁŽƌŬƐ      ϯϳϳϱZŽƐǁĞůůZĚ                                                   KŶůŝŶĞĐƚŝǀĞ^ĞƌǀĞƌƐǁŝƚŚ     zĞƐ
                                 DĂƌŝĞƚƚĂ͕'ϯϬϬϲϮ                                               ĐĐŽƵŶƚŝŶŐĂŶĚĂůůŽƚŚĞƌ
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        'HWDLOV$ERXWWKH'HEWRU V%XVLQHVVRU&RQQHFWLRQVWR$Q\%XVLQHVV
2WKHUEXVLQHVVHVLQZKLFKWKHGHEWRUKDVRUKDVKDGDQLQWHUHVWZLWKLQ\HDUVEHIRUHILOLQJ

                                                                                               (PSOR\HU                'DWHVEXVLQHVV
                                                                                               ,GHQWLILFDWLRQ          H[LVWHG
           %XVLQHVVQDPHDQGDGGUHVV                     'HVFULEHWKHQDWXUHRIWKHEXVLQHVV   1XPEHU                   )URP7R

Ϯϱ͘ϭ       ĚǀĂŶĐĞĚ^ƉŝŶĞĂŶĚWĂŝŶ͕W͘͘                 ,ĞĂůƚŚĐĂƌĞ                           ϰϲͲϬϱϭϲϲϲϮ
           ϮϱŝƌƉĂƌŬŽƵƌƚ
           'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ

Ϯϱ͘Ϯ       ĂƐƚdĞŶŶĞƐƐĞĞDĞĚŝĐĂů'ƌŽƵƉ͕W͘͘            ,ĞĂůƚŚĐĂƌĞ                           ϴϯͲϭϰϮϭϲϯϴ
           ϮϱŝƌƉĂƌŬŽƵƌƚ
           'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ

Ϯϱ͘ϯ       ǆŝŐŽWŚĂƌŵĂĐĞƵƚŝĐĂůƐ͕>>                    ,ĞĂůƚŚĐĂƌĞ                           ϰϲͲϱϲϵϮϬϯϰ
           ϮϱŝƌƉĂƌŬŽƵƌƚ
           'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ

Ϯϱ͘ϰ       &ŝƌƐƚŚŽŝĐĞ,ĞĂůƚŚĐĂƌĞ͕W͘͘                 ,ĞĂůƚŚĐĂƌĞ                           ϱϲͲϮϬϬϴϲϵϭ
           ϮϱŝƌƉĂƌŬŽƵƌƚ
           'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ
Ϯϱ͘ϱ       >ĂďƐŽƵƌĐĞ͕>>                                ,ĞĂůƚŚĐĂƌĞ                           ϰϱͲϱϬϴϰϵϭϲ
           ϮϱŝƌƉĂƌŬŽƵƌƚ
           'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ
Ϯϱ͘ϲ       KĂŬƚƌĞĞDĞĚŝĐĂůĞŶƚƌĞ͕W͘͘                  ,ĞĂůƚŚĐĂƌĞ                           ϱϴͲϮϯϯϮϬϴϭ
           ϮϱŝƌƉĂƌŬŽƵƌƚ
           'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ
           



           ;ĞďƚŽƌŚĂĚDĂŶĂŐĞŵĞŶƚ^ĞƌǀŝĐĞƐŐƌĞĞŵĞŶƚƐ
           ǁŝƚŚĂůůƚŚĞĂďŽǀĞͿ




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         'HWDLOV$ERXWWKH'HEWRU V%XVLQHVVRU&RQQHFWLRQVWR$Q\%XVLQHVV
%RRNVUHFRUGVDQGILQDQFLDOVWDWHPHQWV
F/LVWDOOILUPVRULQGLYLGXDOVZKRZHUHLQSRVVHVVLRQRIWKHGHEWRU VERRNVRIDFFRXQWDQGUHFRUGVZKHQWKLVFDVHILOHG


                                                                                                        /ĨĂŶǇďŽŽŬƐŽĨĂĐĐŽƵŶƚĂŶĚƌĞĐŽƌĚƐ
           EĂŵĞ                                     ĚĚƌĞƐƐ                                             ĂƌĞƵŶĂǀĂŝůĂďůĞ͕ĞǆƉůĂŝŶǁŚǇ


ϮϲĐ͘ϭ      /ƌŽŶDŽƵŶƚĂŝŶ                            ϭϭϲϲϲƚŚǀĞŶƵĞ                                     WĂƉĞƌǁŽƌŬKŶůǇ
                                                    EĞǁzŽƌŬ͕EzϭϬϬϯϲ
ϮϲĐ͘Ϯ      ^ŚƌĞĚŵĞƌŝĐĂZĞĐŽƌĚƐ^ƚŽƌĂŐĞ             ϭϲϴϮ<ĂƚǇ>ĂŶĞ                                      WĂƉĞƌǁŽƌŬKŶůǇ
                                                    &ŽƌƚDŝůů͕^ϮϵϳϬϴ
ϮϲĐ͘ϯ      >ŝĨĞ^ƚŽƌĂŐĞ                             ϭϳϬϭtŽŽĚƌƵĨĨZŽĂĚ                                  ŽƌƉŽƌĂƚĞŽĐƵŵĞŶƚƐͬWŚǇƐŝĐĂů
                                                    'ƌĞĞŶǀŝůůĞ͕^ϮϵϲϬϳ                               ŽƌƉŽƌĂƚĞ^ĞƌǀĞƌƐͬKƚŚĞƌƌĞŵĂŝŶŝŶŐ
                                                                                                        ƋƵŝƉŵĞŶƚ
ϮϲĐ͘ϰ      ŶƌŽƵƚĞEĞƚǁŽƌŬƐ                         ϯϳϳϱZŽƐǁĞůůZĚ                                     KŶůŝŶĞĐƚŝǀĞ^ĞƌǀĞƌƐǁŝƚŚĐĐŽƵŶƚŝŶŐ
                                                    DĂƌŝĞƚƚĂ͕'ϯϬϬϲϮ                                 ĂŶĚĂůůŽƚŚĞƌƌĞĐŽƌĚƐ
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          6WDWHPHQWRI)LQDQFLDO$IIDLUVIRU1RQ,QGLYLGXDOV)LOLQJIRU%DQNUXSWF\
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          'HWDLOV$ERXWWKH'HEWRU V%XVLQHVVRU&RQQHFWLRQVWR$Q\%XVLQHVV
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WKHGHEWRULVVXHGDILQDQFLDOVWDWHPHQWZLWKLQ\HDUVEHIRUHILOLQJWKLVFDVH

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26d.4      NewStateCapital                     2001PalmerAveSuite205         Larchmont      NY         10538

26d.5      JMBCapital                           999AvenueoftheStars          LosAngeles    CA         90067

26d.6      Lifebrite                             ChristianFletcher                 Atlanta       GA          30329
                                                 9CorporateBlvdNE,Suite150
26d.7      NationalSpine&PainCeters,LLC     RobertL.Manning                  Rockville     MD          20852
                                                 11921RockvillePike,Suite505
26d.8      UnitedStatesDepartmentofJustice   Attn:ChristopherTeranova        Washington    DC          20002
                                                 175N.StreetNE




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